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                                                                                                               Form 8

     FORM 8. Entry of Appearance

        UNITED STATES COURT OF APPEALS FOR THE FEDE
                   ------------------------ v. NEWEGG
                    SOVERAIN SOFTWARE

                                                   No. 2011-1oog
                                                                                       United States Court: o\. ~p~ea\
                                         ENTRY OF APPEARANCE                               fot The fedeta\ C1tcU1t

       (INSTRUCTIONS: Counsel should refer to Federal Circuit Rules 47.3. Pro se petitioners and
       appellants should read paragraphs 1 and 18 of the Guide for Pro Se Petitioners and Appellants.
       File this form with the clerk within 14 days of the date of docketing and serve a copy of it on the
       principal attorney for each party.)
       Please enter my appearance (select one):
               c:::J.Pro Se           I ./ lAs counsel for:        Soverain Software LLC
                                                                   Name of party
       I am, or the party I represent is (select one):
              c=JPetitioner c=:JRespondent c::J.Amicus curiae c::J.cross Appellant
              c::J.Appellant cz:JAppellee                c::J.Intervenor
       As amicus curiae or intervenor, this party supports (select one):
                                                                                                 FILED
               c:JPetitioner or appellant        c::::JR.espondent or appellee       U.S. COURT OF APPEAL:-; i:c;.
                                                                                        THE FEDERAL CIRCI ';:
       My address and telephone are:
             Name:                 Kenneth R. Adamo, Esq.           OCT 2 2' 201u
             Law firm:             Jones Day
             Address:              2727 North Harwood Street         JAN HORBALY
             City, State and ZIP: Dallas, Texas 75201-1515              CLERK
             Telephone:            214-220-3939
             Fax#:                 214-969-5100
             E-mail address:       kradamo@jonesday.com
                                   ----~=---~-------------------------------
       Statement to be completed by counsel only (select one):
               ClJ I am the principal attorney for this party in this case and will accept all service
               for the party. I agree to inform all other counsel in this case of the matters
               served upon me.
               c=J I am replacing                     as the principal attorney who wilVwill not
               remain on the case. [Government attorneys only.)
               c::J I am not the principal attorney for this party in this case.
       Date admitted to Federal Circuit bar (counsel only): November 1982
       This is my first appearance before the United States Court of Appeals for the Federal Circuit
       (counsel only):
               c=JYes         I ./ INo
       c::JA courtroom accessible to the handicapped is

         to!,!f!to
           fd ate (-
       cc:

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